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 7

 8
                                 UNITED STATES DISTRICT COURT
 9                                    DISTRICT OF NEVADA

10
     UNITED STATES OF AMERICA,
11
                    Plaintiff,                        Case No.: 2:22-cr-00129-CDS-DJA
12
                    v.                                Unopposed Motion to Amend
13                                                    Indictment
      CHRISTIAN DEMARCO THOMAS,
14
                    Defendant.
15

16

17         On June 8, 2022, the Grand Jury issued an indictment charging Christian Demarco

18 Thomas with one count of Felon in Possession of a Firearm, in violation of 18 U.S.C.

19 §§ 922(g)(1) and 924(a)(2), and one count of Felon in Possession of Ammunition, in violation

20 of 18 U.S.C. §§ 922(G)(1) and 924(a)(2). The caption on the Criminal Indictment

21 misspelled the defendant’s name – the H in his first name was missing (Cristian). The

22 government seeks to file an Amended Criminal Indictment, attached as Exhibit 1, to

23 correct the scrivener’s error. The government contacted defendant’s counsel on Thursday,

24
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 1   June 16, 2022, and defendant does not object to the filing of the Amended Criminal

 2   Indictment.

 3         DATED: June 21, 2022

 4                                                   JASON M. FRIERSON
                                                     United States Attorney
 5                                                   District of Nevada

 6
                                                     /s/ Bianca R. Pucci
 7                                                   BIANCA R. PUCCI
                                                     Assistant United States Attorney
 8

 9

10
              IT IS SO ORDERED.
11
              DATED: June 23, 2022
12

13
              __________________________________
14
              DANIEL J. ALBREGTS
15            UNITED STATES MAGISTRATE JUDGE

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                                                 2
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 1                          GOVERNMENT EXHIBIT LIST

 2
     •   Exhibit 1: Amended Criminal Indictment
 3

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                  EXHIBIT 1
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 8                                UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEVADA
 9
     UNITED STATES OF AMERICA,                            AMENDED CRIMINAL
10                                                        INDICTMENT
                     Plaintiff,
11                                                        Case No.: 2:22-cr-00129-CDS-DJA
            vs.
12
     CHRISTIAN DEMARCO THOMAS,                            VIOLATIONS:
13
                     Defendant.                           18 U.S.C. §§ 922(g)(1), 924(a)(2) – Felon in
14                                                        Possession of a Firearm
15                                                        18 U.S.C. §§ 922(g)(1), 924(a)(2) – Felon in
                                                          Possession of Ammunition
16

17
     THE GRAND JURY CHARGES THAT:
18
                                                COUNT ONE
                                        Felon in Possession of a Firearm
19
                                       (18 U.S.C. §§ 922(g)(1), 924(a)(2))
20
            On or about April 21, 2022 in the State and Federal District of Nevada,
21
                                  CHRISTIAN DEMARCO THOMAS,
22

23   defendant herein, knowing he had previously been convicted of a crime punishable by

24   imprisonment for a term exceeding one year, that is: Carrying a Concealed Firearm or Other
            Case 2:22-cr-00129-CDS-DJA Document 17 Filed 06/23/22 Page 6 of 7




 1   Deadly Weapon, in the Eighth Judicial District Court for Clark County, Nevada, on or about

 2   February 15, 2012, in case number C-11-276712-1; Battery with use of a Deadly Weapon, in the

 3   Eighth Judicial District Court for Clark County, Nevada, on or about March 12, 2012, in

 4   case number C-11-277045-1; Attempt Carrying a Concealed Weapon, in the Eighth Judicial

 5   District Court for Clark County, Nevada, on or about May 22, 2012, in case number C-11-

 6   273282-1; Ownership or Possession of Firearm by Prohibited Person, in the Eighth Judicial

 7   District Court for Clark County, Nevada, on or about April 5, 2015, in case number C-14-

 8   301595-1; Attempt Battery with Substantial Bodily Harm, in the Eighth Judicial District Court

 9   for Clark County, Nevada, on or about April 9, 2015, in case number C-15-304602-1; and

10   Ownership or Possession of Firearm by Prohibited Person, in the Eighth Judicial District Court for

11   Clark County, Nevada, on or about June 3, 2021, in case number C-20-351562-1; knowingly

12   possessed a firearm, that is: a Glock 21, 45 caliber firearm, bearing serial number G43068;

13   said possession being in and affecting interstate commerce and said firearm having been

14   shipped and transported in interstate commerce, all in violation of Title 18, United States

15   Code, Sections 922(g)(1) and 924(a)(2).

16                                          COUNT TWO
                                   Felon in Possession of Ammunition
17                                  (18 U.S.C. §§ 922(g)(1), 924(a)(2))

18          On or about April 21, 2022 in the State and Federal District of Nevada,

19
                                CHRISTIAN DEMARCO THOMAS,
20

21   defendant herein, knowing he had previously been convicted of a crime punishable by

22   imprisonment for a term exceeding one year, that is: Carrying a Concealed Firearm or Other

23   Deadly Weapon, in the Eighth Judicial District Court for Clark County, Nevada, on or about

24   February 15, 2012, in case number C-11-276712-1; Battery with use of a Deadly Weapon, in the


                                                     2
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